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IN THE UNITED STATES DISTRICT COURT mre at
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FOR THE DISTRICT OF NEW MEXICO wor Ac ADI te /
UNITED STATES OF AMERICA, )
) Ay z

Plaintiff, ) crminaLno. IACRI4G IVI.
)
VS. )
)
JOHNNY L. MELTON, )
)
Defendant. )

PLEA AGREEMENT
Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the parties hereby notify the
Court of the following agreement between the United States Attorney for the District of New
Mexico, the defendant, JOHNNY L. MELTON, and the defendant’s counsel, ANDRE
POISSANT:

REPRESENTATION BY COUNSEL

 

l. The defendant understands the defendant’s right to be represented by an attorney
and is so represented. The defendant has thoroughly reviewed all aspects of this case with the
defendant’s attorney and is fully satisfied with that attorney’s legal representation.

RIGHTS OF THE DEFENDANT
Z The defendant further understands the following rights:
a. to be charged and prosecuted by indictment;
b. to plead not guilty;
c. to have a trial by jury;

d. to confront and cross-examine witnesses and to call witnesses to testify for
the defense; and
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e against compelled self-incrimination.
WAIVER OF RIGHTS AND PLEA OF GUILTY
bi The defendant hereby agrees to waive these rights and to plead guilty to the

Information charging a violation of 18 U.S.C. § 922(g)(1), that being Felon in Possession of a

Firearm.

ELEMENTS OF THE OFFENSE

 

4. The elements of 18 U.S.C. § 922(g)(1), Felon in Possession of a Firearm, are:

a. the defendant knowingly possessed a firearm;

b. the defendant had previously been convicted of a felony;

c the defendant knew that he had previously been convicted of a felony!;
and

d. prior to the defendant’s possession of the firearm , those items moved at
some time from one state to another.

SENTENCING
5. The defendant understands that the maximum penalty the Court can impose is:

a. fifteen years up to life imprisonment;

b. a fine not to exceed $250,000.00:

c. a mandatory term of supervised release of not more than five years that must
follow any term of imprisonment. (If the defendant serves a term of
imprisonment, is then released on supervised release, and violates the
conditions of supervised release, the defendant's supervised release could
be revoked--even on the last day of the term--and the defendant could then
be returned to another period of incarceration and a new term of supervised
release): and

d. a mandatory special penalty assessment of $100.00.

 

' The United States does not concede that 18 U.S.C. § 922(g)(1) requires this element but, acknowledging that the
question is before the Supreme Court, includes it out of caution.

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6. The parties are aware that the Court may accept or reject this plea agreement, or
may defer its decision as to acceptance or rejection until there has been an opportunity to consider
the presentence report. Pursuant to Federal Rule of Criminal Procedure 11(c)(5), if the Court
rejects this plea agreement, the defendant shall have the right to withdraw Defendant’s plea of
guilty.

te The United States hereby expressly reserves the right to make known to the United
States Probation Office and to the Court, for inclusion in the presentence report prepared pursuant
to Federal Rule of Criminal Procedure 32, any information that the United States believes may be
helpful to the Court, including but not limited to information about any relevant conduct under
USSG § 1B1.3.

8. Except under circumstances where the Court, acting on its own, fails to accept this
plea agreement, the defendant agrees that, upon the defendant’s signing of this plea agreement, the
facts that the defendant has admitted under this plea agreement as set forth below, as well as any
facts to which the defendant admits in open court at the defendant’s plea hearing, shall be
admissible against the defendant under Federal Rule of Evidence 801(d)(2)(A) in any subsequent
proceeding, including a criminal trial, and the defendant expressly waives the defendant’s rights
under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410 with regard to
the facts the defendant admits in conjunction with this plea agreement.

DEFENDANT’S ADMISSION OF FACTS

9. By my signature on this plea agreement, | am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and
accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge that

if I chose to go to trial instead of entering this plea, the United States could prove facts sufficient
 

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to establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,
including any facts alleged in the Information that increase the statutory minimum or maximum
penalties. I specifically admit the following facts related to the charges against me, and declare
under penalty of perjury that all of these facts are true and correct:

On August 17, 2018, Chaves County deputies located a vehicle that had fled

from the Roswell Police Department at a residence in Roswell. A deputy got

permission from someone on the property to enter in order to see if the subject

who fled was hiding on the property.

Deputies found me hiding underneath a mobile home on the property after I

parked the vehicle on the property and arrested me on an outstanding

probation violation warrant.

A deputy found a firearm underneath the mobile home within reach of where

I was located. The firearm was an Intratec, .22 cal. pistol with an obliterated

serial number. I knowingly possessed the firearm, and knew I was prohibited

from possessing it because I was previously convicted of felony offenses. The

firearm traveled in interstate or foreign commerce prior to the time I

possessed it.

10. By signing this agreement, the defendant admits that there is a factual basis for each
element of the crime(s) to which the defendant will plead guilty. The defendant agrees that the
Court may rely on any of these facts, as well as facts in the presentence report, to determine the
defendant’s sentence, including, but not limited to, the advisory guideline offense level.

STIPULATIONS

11. | The United States and the defendant stipulate as follows:

a. The defendant and the United States agree, pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(C) that a specific sentence of fifteen (15) years is the appropriate
sentence in this case. The remaining components of the defendant’s sentence, including but not

limited to any fine or restitution and the length and conditions of supervised release, shall be

imposed by the Court after the presentation of evidence and/or argument by the parties.
 

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DEFENDANT’S OBLIGATIONS

 

12. The defendant understands the defendant’s obligation to provide the United States
Probation Office with truthful, accurate, and complete information, including, but not limited to
defendant’s true identity, citizenship status, and any prior criminal convictions. The defendant
hereby represents that the defendant has complied with and will continue to comply with this
obligation. The defendant understands that any misrepresentation with respect to the above
obligations may be considered a breach of this plea agreement.

13. By signing this plea agreement, the defendant waives the right to withdraw the
defendant’s plea of guilty pursuant to Federal Rule of Criminal Procedure 11(d) unless: (1) the
court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(5) or (2) the
defendant can show a fair and just reason as those terms are used in Rule 11(d)(2)(B) for requesting
the withdrawal. Furthermore, defendant understands that if the court rejects the plea agreement,
whether or not defendant withdraws the guilty plea, the United States is relieved of any obligation
it had under the agreement and defendant shall be subject to prosecution for any federal, state, or
local crime(s) which this agreement otherwise anticipated would be dismissed or not prosecuted.

WAIVER OF APPEAL RIGHTS

 

14. The defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
defendant knowingly waives the right to appeal the defendant’s conviction(s) and any sentence
imposed in conformity with this Fed. R. Crim. P. 11(c)(1)(C) plea agreement, as well as any
sentence imposed below or within the Guideline range upon a revocation of supervised release in
this cause number, including any fine or any order of restitution entered by the Court. In addition,

the defendant agrees to waive any collateral attack to the defendant’s conviction(s) and any
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sentence, including any fine, pursuant to 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ,
except on the issue of defense counsel’s ineffective assistance.

GOVERNMENT’S AGREEMENT

 

13. Provided that the defendant fulfills the defendant’s obligations as set out above, the
United States agrees not to bring additional criminal charges against the defendant arising out of
the facts forming the basis of the present Information.

16. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

VOLUNTARY PLEA

17. | The defendant agrees and represents that this plea of guilty is freely and voluntarily
made and is not the result of force, threats or promises (other than the promises set forth in this
plea agreement and any addenda). The defendant also represents that the defendant is pleading
guilty because the defendant is in fact guilty.

VIOLATION OF PLEA AGREEMENT

 

18. The defendant understands and agrees that if the defendant or the defendant’s
attorney violates any provision of this plea agreement, the United States may declare this plea
agreement null and void, and the defendant will thereafter be subject to prosecution for any
criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related
to the charges in this case, as well as perjury, false statement, and obstruction of justice, and any
other crime committed by the defendant during prosecution of this case.

SPECIAL ASSESSMENT

 

19. At this time of sentencing, the defendant will tender a money order or certified

check payable to the order of the United States District Court, District of New Mexico, 333 Lomas
 

 

 

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Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $100.00 in payment of the

special penalty assessment described above.

ENTIRETY OF AGREEMENT

 

20. This document and any addenda are a complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. The parties agree
and stipulate that this agreement will be considered part of the record of defendant’s guilty plea
hearing as if the entire agreement had been read into the record of the proceeding. This agreement
is effective upon signature by the defendant and an Assistant United States Attorney, and upon
entry of a guilty plea by the defendant pursuant to this agreement.

AGREED TO AND SIGNED this 3O day of Man , 2019.

 

JOHN C. ANDERSON
United States Attorney

Climo Wiis

fp RANDY M. CASTELLANO
Assistant United States Attorney
200 N. Church Street
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This agreement has been read to me in the language I understand best, and I have carefully
discussed every part of it with my attorney. I understand the terms of this agreement, and |
voluntarily agree to those terms. My attorney has advised me of my rights, of the elements of the
offense, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the
relevant sentencing guidelines provisions, and of the consequences of entering into this agreement.
No promises or inducements have been given to me other than those contained in this agreement.
No one has threatened or forced me in any way to enter into this agreement. Finally, I am satisfied

with the representation of my attorney in this matter.
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Ske L- MELTON
Defendant

I am the attorney for JOHNNY L. MELTON. I have carefully discussed every part of this
agreement with my client. Further, I have fully advised my client of his rights, of the elements of
the offense, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the
relevant sentencing guidelines provisions, and of the consequences of entering into this agreement.
To my knowledge, my client’s decision to enter into this agreement is an informed and voluntary
one.

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Lindy. Kovrnce ed
ANDRE POISSANT
Attorney for Defendant
